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        Exhibit 11
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Cohen, Daniel
Subject:                    FW: Activity in Case 1:01-cv-12257-PBS Citizens for Consume, et al v. Abbott Laboratories,,
                            et al Order on Motion to Compel


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                                              District of Massachusetts

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Case Name:           Citizens for Consume, et al v. Abbott Laboratories,, et al
Case Number:         1:01-cv-12257
Filer:
Document Number: No document attached

Docket Text:
Magistrate Judge Marianne B. Bowler: Electronic ORDER entered granting [5725] Motion to
Compel, inasmuch as Georgia DCH's violation of Rule 45(d)(2) waived the privilege. See In Re
Grand Jury Subpoena, 274 F.3d 563, 575-76 (1st Cir. 2001)("party that fails to submit a
privilege log is deemed to waive the underlying privilege claim"). Defendants Dey, Inc., Dey,
LLP, Inc. and Dey, L.P. are directed to confer with Georgia DCH in an effort to reduce the
burden of production and defray the expense. (Bowler, Marianne)


1:01-cv-12257 Notice has been electronically mailed to:

Louis J. Scerra, Jr scerral@gtlaw.com, koglins@gtlaw.com, maximn@gtlaw.com

Robert J. Muldoon, Jr rjmuldoon@sherin.com

Scott A. Birnbaum birnbaum@birnbaumgodkin.com, mcduffee@birnbaumgodkin.com

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